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 DEFENDANT 14:      GREGORY WILLIAMS

 YOB:               1961

 ADDRESS:           Parker, Colorado

 COMPLAINT FILED?             YES           NO

        IF YES, PROVIDE MAGISTRATE CASE NUMBER:

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                           YES             NO

 OFFENSE:    COUNT ONE – Title 21, United States Code, Sections 841(a)(1),
             841(b)(1)(B)(ii)(II), 841(b)(1)(B)(iii), 841(b)(1)(C), and 846: On or about and
             between June 1, 2013, and June 4, 2014, both dates being approximate and
             inclusive, did knowingly and intentionally conspire to distribute and possess with
             the intent to distribute, one or more of the following controlled substances: (1)
             more than 500 grams but less than 5 kilograms of a mixture or substance
             containing a detectable amount of cocaine, a Schedule II Controlled Substance;
             (2) more than 28 grams but less than 280 grams of a mixture or substance which
             contains cocaine base; (3) less than 100 grams of a mixture or substance
             containing a detectable amount of heroin, a Schedule I Controlled Substance; (4)
             less than 50 grams of a mixture or substance containing a detectable amount of
             methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
             Controlled Substance.

             COUNT TWO - Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 - On or about November
             13, 2013, did knowingly and intentionally distribute and possess with the intent
             to distribute less than 500 grams of a mixture or substance containing a detectable
             amount of cocaine, a Schedule II controlled substance, and did knowingly and
             intentionally aid, abet, counsel, command, induce or procure the same.

             COUNT THREE - Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about November
             13, 2013, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 28 grams of a mixture or substance containing cocaine base, a
             Schedule II controlled substance, and did knowingly and intentionally aid, abet,
             counsel, command, induce or procure the same.

             COUNTS FOUR AND FIVE: Title 21, United States Code, Sections 843(b) and
             843(d) – did knowingly or intentionally use a communications device, specifically
             a telephone, in committing, or in causing or facilitating the commission of, a
             felony delineated in Title 21 of the United States Code.

             Notice of Forfeiture
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 LOCATION OF OFFENSE:                 Arapahoe County, Colorado
 (COUNTY/CITY/STATE)

 PENALTY:        COUNT ONE: NLT 5 years and NMT 20 years imprisonment, $5 million fine, or
                 both; NLT 4 years supervised release, $100 Special Assessment Fee.

                 COUNT TWO: NMT 20 years imprisonment, $1 million fine, or both; NLT 3
                 years supervised release, $100 Special Assessment Fee.

                 COUNT THREE: NMT 20 years imprisonment, $1 million fine, or both; NLT 3
                 years supervised release, $100 Special Assessment Fee.

                 COUNTS FOUR AND FIVE: NMT 4 years imprisonment, $250,000.00 fine, or
                 both; NMT 1 year supervised release; and a $100 Special Assessment Fee (per
                 count).


 AGENT:          Special Agent Sara Aerts
                 Federal Bureau of Investigation

 AUTHORIZED BY:             ZACHARY PHILLIPS
                            Assistant U.S. Attorney



 ESTIMATED TIME OF TRIAL:

        five days or less                over five days             other

 THE GOVERNMENT

         will seek detention in this case                will not seek detention in this case

 The statutory presumption of detention is applicable to this defendant.

 OCDETF CASE:                         Yes WC CO 636                No




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